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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

ALFREDO TORRES                                §
                                              §
VS.                                           § CIVIL ACTION NO: 5:17-CV-00289-DAE
                                              §
STEVE KENT TRUCKING, INC. and                 §
JACOBY HOOPER                                 §

                  PLAINTIFF’S MOTION TO DISMISS WITH PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

        ALFREDO TORRES, Plaintiff, files this Motion to Dismiss With Prejudice, and would

respectfully show the Court as follows:

        1.       Plaintiff has entered into a Settlement Agreement resolving the claims between

him and Defendants Steve Kent Trucking, Inc. and Jacoby Hooper in this lawsuit. As part of this

same agreement, Plaintiff has agreed to dismiss this lawsuit with prejudice as to Defendants

Steve Kent Trucking, Inc. and Jacoby Hooper. As further part of this same agreement, the parties

have agreed to the terms of an Agreed Order of Dismissal With Prejudice.

        2.       The Plaintiff respectfully requests that the Court enter the proposed Agreed Order

of Dismissal With Prejudice, which is being filed simultaneously herewith.

        Wherefore, for the foregoing reasons, the Plaintiff respectfully requests that this Court

dismiss this lawsuit with prejudice by entering the Agreed Order of Dismissal With Prejudice

being filed simultaneously herewith.




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                                     Respectfully submitted,


                                      /s/ Daryoush Toofanian
                                     ___________________________
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